                                          April 14, 2021

Via ECF & E-mail
The Honorable Richard M. Berman
U.S. District Judge
Southern District of New York
500 Pearl Street
New York, New York 10001

       Re: United States v. Robert Hadden, No. 20-cr-468 (RMB) (OTW)

Dear Judge Berman,

       I write to respectfully request an additional three-month extension of the due date for
defense pre-trial motions in this case (and a concomitant extension of the due dates for the
government’s response and the defense reply) and an adjournment of the trial date. This
adjournment is necessary to enable me to review the massive productions of discovery that the
government has continued to disclose since our last conference and to ensure that I am effectively
representing my client in identifying and drafting the pre-trial motions.

        To give the Court a sense of the discovery productions: When I was appointed to the case
just three months ago, on January 15, 2021, the government already had produced two initial
tranches of discovery consisting of approximately 1500 pages. On March 1, 2021, the
government produced an additional 86,000 pages of discovery, including thousands of pages of
extremely complex medical records and 14 gigabytes of additional records, including emails,
from                         and                                    On April 5, 2021, the
government produced a fourth tranche of discovery, consisting of numerous electronic devices
that were seized during the execution of search warrants (including eleven USB drives/data cards,
six compact discs, a tablet, an audio recorder, five cell phones, two laptops, and an additional
laptop that can be reviewed only in person at the FBI’s office). On April 12, 2021, the
government produced a fifth tranche of approximately 800 pages consisting of additional search
warrants and documents from the                                              The government has
indicated that although it believes the bulk of the discovery has been produced, there still may be
additional discovery forthcoming.

       Review of this quantity and complexity of discovery would be slow-going at any time, but
my ability to access and review (particularly electronic) discovery has been made substantially
harder while working remotely during the COVID-19 pandemic. At this point, I have finished
reviewing the two initial discovery productions and am in the process of reviewing the third
production, with an eye to motion preparation, further investigation that is needed to prepare a
defense, and trial preparation, but I have many thousands of pages to go before I can turn to the
fourth and fifth discovery productions. I have already identified at least five substantial pre-trial
motions stemming from the discovery I have reviewed and have begun to sketch those out
informally, but of course cannot fully draft those or know if there are other motions that should be
made until I fully review all of the Rule 16 discovery. By contrast to my 90 days of work on this
case, as the Court is aware, state and federal agents and prosecutors have been investigating the
case for nine years. As the Court also knows, this is not the only defendant I am appointed to
represent. Indeed, among other complex cases I am actively working on, the Supreme Court
recently granted the government’s petition for certiorari in a death penalty case of mine, and our
merits brief is due on August 27, 2021, with argument scheduled for early October.

        Given my desire—and obligation—to provide an effective defense, I would ask the Court
to extend the motion deadline as follows:

Defense pre-trial motions due by 9/13/21
Government response by 10/11/21
Defense reply by 10/25/21

       I would further request the Court to adjourn the trial, currently set for September 27,
2021, to a date in early 2022. The defendant continues to be in compliance with pre-trial
supervision, has had no issues with the law since 2012, and has not practiced medicine since
2012.

        I have discussed these requests with the government, who indicated it would consent only
to a one-month adjournment of the motion deadline and no adjournment of trial.

       Thank you for your consideration of this request.

                                                      Respectfully submitted,
                                                             /s/
                                                      Deirdre D. von Dornum
                                                      Attorney-in-Charge | EDNY
                                                      Federal Defenders of New York
                                                      Counsel for Robert Hadden

cc:    Counsel of Record (via ECF)
       U.S. Pretrial Services Officer John Moscato


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